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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


    LIAM ALEXANDER,                             :
                                                :
                          Plaintiff,            :
                  v.                            :
                                                :               Civil Action No. 23-0006 (CKK)
    LEMONADE, INC.,                             :
                                                :
                          Defendant.            :



                                       MEMORANDUM OPINION

          This matter is before the Court on Defendant’s Preliminary Motion to Dismiss [ECF No.

4], filed on February 27, 2023. For the reasons discussed below, the Court GRANTS the

motion.1

I. BACKGROUND

          Plaintiff, proceeding pro se, appears to allege that defendant breached an insurance

contract by failing to pay claims pertaining to plaintiff’s former residences in Washington, DC,

Bronx, NY and Atlanta, GA. See Compl. at 4. Consequently, plaintiff alleges, he has suffered

“catastrophic personal and professional damages as well as life-threatening medical

complications[.]” Id. Among other relief, see id. at 4-5, plaintiff demands an award of

$50,000,000, id. at 5.




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     The Court’s consideration focused on the following documents:

      •   Complaint (ECF No. 1, “Compl.”)
      •   Memorandum of Grounds and Authorities (ECF No. 4-2, “Def.’s Mem.”)


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           On February 27, 2023, defendant filed a motion to dismiss on two grounds: failure to

state a claim upon which relief can be granted, and lack of subject matter jurisdiction. See

generally Def.’s Mem. On March 1, 2023, the Court issued an Order (ECF No. 5) directing

plaintiff to file an opposition or other response to the motion by April 3, 2023. The Order

warned plaintiff that, if he failed to file a timely response, the Court would rule on defendant’s

motion without the benefit of his position. To date, plaintiff neither has filed a response to the

motion nor requested additional time to file a response.

II. DISCUSSION

        A. This Court Lacks Subject Matter Jurisdiction Over Plaintiff’s Claims

        “Federal courts are courts of limited jurisdiction . . . [and it] is to be presumed that a

cause lies outside this limited jurisdiction.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S.

375, 377 (1994) (citations omitted). Under Rule 12(b)(1), the Court may dismiss a civil action

for lack of subject matter jurisdiction. A plaintiff bears the burden of demonstrating that the

court has jurisdiction over his claim. See Lujan v. Defender. of Wildlife, 504 U.S. 555, 561

(1992). “If a court lacks subject matter jurisdiction to entertain a claim, it must dismiss that

claim.” Cofield v. United States, 64 F. Supp. 3d 206, 211 (D.D.C. 2014) (citing Fed. R. Civ. P.

12(b)(1), 12(h)(3)).

        Plaintiff asserts federal question jurisdiction, see Compl. at 2, whereby a district court has

“original jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the

United States,” 28 U.S.C. § 1331. But a breach of contract claim is not a federal question. See

RGI Events & Pub. Relations, LLC v. Al Qurm Mgmt. Consultancy, No. 18-cv-1828 (BAH),

2019 WL 935498, at *2 n.1 (D.D.C. Feb. 26, 2019) (remarking that “D.C. law claims for breach

of contract, misappropriation of trade secrets, and tortious interference do not remotely raise a



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federal question”); Campos v. Riteway Med. Equip. Supplies & Nursecare, Inc., 18-cv-1200

(UNA), 2018 WL 4194067, at *1 (D.D.C. June 13, 2018) (finding that complaint raising breach

of contract claim does not raise a federal question); Masoud v. Suliman, 816 F. Supp. 2d 77, 80

(D.D.C. 2011) (concluding that complaint asserting “four common law claims for breach of

contract, fraud, misrepresentation, and unjust enrichment” does not present claim for relief under

federal law); see also MobilizeGreen, Inc. v. Cmty. Found. for Nat’l Cap. Region, 101 F. Supp.

3d 36, 48 (D.D.C. 2015) (remanding action to Superior Court of the District of Columbia

“because no federal question jurisdiction arises from MobilizeGreen’s breach of contract

claim”). The Court concurs with defendant’s assessment that a “breach of contract claim . . . is

traditionally a state law claim, and certainly does not implicate [f]ederal [q]uestion jurisdiction.”

Def.’s Mem. ¶ 13.

        Because it appears that the parties are residents of different states and plaintiff alleges

that the amount in controversy exceeds $75,000, see Compl. at 1-2, 5, it is possible that diversity

jurisdiction exists. See 28 U.S.C. § 1332(a) (“The district courts shall have original jurisdiction

of all civil actions where the matter in controversy exceeds the sum or value of $75,000 . . . and

is between . . . citizens of different States[.]”). Even if diversity jurisdiction exists, the complaint

still is subject to dismissal because it falls far short of stating a viable legal claim.

        B. The Complaint Fails to State a Claim Upon Which Relief May Be Granted

        A plaintiff need only provide a “short and plain statement of [his] claim showing that [he

is] entitled to relief,” Fed. R. Civ. P. 8(a)(2), that “give[s] the defendant fair notice of what the . .

. claim is and the grounds upon which it rests,” Erickson v. Pardus, 551 U.S. 89, 93 (2007) (per

curiam) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)) (internal quotation

marks omitted). To survive a motion to dismiss under Rule 12(b)(6), a complaint must “contain



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sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its face.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); see also Wood v. Moss, 572 U.S. 744, 757–58

(2014). A facially plausible claim pleads facts that are not ‘“merely consistent with’ a

defendant’s liability” but that “allow[] the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678 (quoting Twombly, 550

U.S. at 556).

        A pro se complaint must “‘be liberally construed’ and ‘held to less stringent standards

than formal pleadings drafted by lawyers.’” Bowman v. Iddon, 848 F.3d 1034, 1039 (D.C. Cir.

2017) (quoting Erickson v. Pardus, 551 U.S. 89, 94 (2007) (per curiam) (internal quotation

marks and citation omitted)). Nonetheless, a pro se plaintiff is not excused from complying with

applicable procedural rules and “must plead ‘factual matter’ that permits the court to infer ‘more

than the mere possibility of misconduct.’” Atherton v. District of Columbia Office of the Mayor,

567 F.3d 672, 681-82 (D.C. Cir. 2009) (quoting Iqbal, 556 U.S. 678); see also Jones v. Horne,

634 F.3d 588, 595 (D.C. Cir. 2011).

        “Under District of Columbia law, in order to show a breach of contract, “a party must

establish (1) a valid contract between the parties; (2) an obligation or duty arising out of the

contract; (3) a breach of that duty; and (4) damages caused by breach.” Corp. Sys. Res. v.

Washington Metro. Area Transit Auth., 31 F. Supp. 3d 124, 129 (D.D.C. 2014) (citations,

footnote, and internal quotation marks omitted). A breach of contract claim “survive[s] a Rule

12(b)(6) motion to dismiss” if “the plaintiff . . . describe[s] the terms of the alleged contract and

the nature of the defendant’s breach.” Francis v. Rehman, 110 A.3d 615, 620–21 (D.C. 2015)

(citing Nattah v. Bush, 605 F.3d 1052, 1058 (D.C. Cir. 2010)). The meager facts in this

complaint fail to allege a plausible claim. Missing are any facts establishing that a contractual



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agreement exists between the parties, stating the terms of the contract, and specifying where,

when and how defendant breached the contract. And as defendant states, the complaint “is

simply void of any information that would give [it] the opportunity to investigate and respond to

the . . . [c]omplaint.” Def.’s Mem. ¶ 8.

        The Court concludes that the complaint fails to state a breach of contract claim and,

accordingly, the complaint must be dismissed. See Scarlett v. Nat’l Sci. Found. Off. of Inspector

Gen., No. 22-cv-0188 (BAH), 2022 WL 17830227, at *7 (D.D.C. Dec. 21, 2022) (“[E]ven

construing plaintiff’s allegations liberally in light of her pro se status, plaintiff has failed to

allege both that she entered a contract with [defendant] and that [defendant] breached any

obligation to her as a result of such a contract”).

III. CONCLUSION

        The Court concludes that plaintiff’s complaint neither establishes federal question

jurisdiction nor states a claim upon which relief may be granted. Accordingly, defendant’s

motion to dismiss is granted. An Order is issued separately.



DATE: April 26, 2023                            /s/
                                                COLLEEN KOLLAR KOTELLY
                                                United States District Court Judge




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